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 3
 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                  Case No. 2:13-cr-00355-GMN-CWH
                                               )
 9   vs.                                       )                  ORDER
                                               )
10   GREGORY VILLEGAS,                         )
                                               )
11                     Defendant.              )
     __________________________________________)
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            This matter came before the Court on Defendant Gregory Villegas’ Motion for Status
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     Check and for Extension of Deadline for Redaction Estimate (#64), filed on December 12, 2013.
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     The Court conducted a status check on December 16, 2013. In doing so, the Court made
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     preliminary remarks and heard representations of counsel as to the proposed redaction estimate.
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     Defense Counsel Brenda Weksler indicated that she will continue to pursue redaction costs for the
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     discovery documents identified and sought an extension of time. After careful consideration, the
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     Court finds that an extension is warranted and a final estimate regarding redaction costs shall be
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     due by January 13, 2014. Additionally, the Court notes that the Motion for District Judge to
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     Reconsider Order of Pretrial Release (#41) will be addressed by Judge Navarro. Also, the Court
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     issued a scheduling order regarding complex case discovery to govern this case. See Minutes of
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     Proceedings (#59). Accordingly, there are no motions pending before the Court and the conditions
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     of release for Defendant Gregory Villegas previously imposed by Judge Foley are in effect. See
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     Minutes of Proceedings (#39).
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            Based on the foregoing and good cause appearing therefore,
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            IT IS HEREBY ORDERED that Defendant Gregory Villegas’ Motion for Status Check
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     and for Extension of Deadline for Redaction Estimate (#64) is granted to the extent that it
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     requests an extension for the redaction estimate.
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 1         IT IS FURTHER ORDERED that an estimate regarding redaction shall be due by
 2   January 13, 2014.
 3         DATED this 16th day of December, 2013.
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                                            ______________________________________
 6                                          C.W. Hoffman, Jr.
                                            United States Magistrate Judge
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